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Secretary
U.S. Department of Homeland Security
Washington, DC 20528

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May 17, 2019
MEMORANDUM FOR: All DHS Employees

FROM: Kevin K. McAleenan
Acting Secretary

SUBJECT: Information Regarding First Amendment Protected Activities

I am proud of the work you do every day to protect our Homeland. You serve as America’s
Frontline and your commitment to the highest ethical and moral principles is a testament to each
of you, the founding values of our Department, and our nation. It is in this spirit that I write to
you today to emphasize — as you all know — that the privilege of administering and enforcing
federal laws carries with it the responsibility for upholding the principles of professionalism,
impartiality, courtesy, and respect for civil rights and civil liberties.

DHS does not profile, target, or discriminate against any individual for exercising his or her First
Amendment rights.! Under the Privacy Act of 1974, all DHS personnel are prohibited from
maintaining records that describe how a U.S. citizen (USC) or alien lawfully admitted for
permanent residence (LPR)? exercises his or her First Amendment rights, “unless expressly
authorized by statute or by the individual about whom the record is maintained or unless pertinent
to and within the scope of an authorized law enforcement activity.”

Information, in any form, regarding how an individual exercises First Amendment rights shall
include (among other things):

1. Information about an individual’s religious beliefs and practices;
2. Information about an individual’s political or personal beliefs or associations, academic or
scientific inquiries, or the expressions thereof;

 

' The First Amendment provides that “Congress shall make no law respecting an establishment of religion, or
prohibiting the free exercise thereof; or abridging the freedom of speech, or of the press; or the right of the people
peaceably to assemble, and to petition the Government for a redress of grievances.” U.S. Const. amend. I.

? For purposes of this memorandum, “DHS personnel” includes all DHS employees, including those who are law
enforcement agents and officers and those in the intelligence community, as well as those performing work on behalf
of DHS employees, such as contractors.

> To the extent that a person’s status is unknown or unclear, for the purposes of this policy that person shall be treated
as an “individual” covered by the Privacy Act. 5 U.S.C. § 552a(a)(2).

45 U.S.C. § 552a(e)(7).

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3. Information about an individual’s (including journalists, attorneys, academics,
representatives of non-governmental organizations, etc.) reporting activities and
documentation; or,

4. Information about an individual’s associations with others for lawful purposes, including
participation in protests or other non-violent demonstrations against government policy or
actions.

Individuals’ First Amendment rights are protected regardless of the medium of their
communications. These principles apply to communications such as oral or written speech (both
in paper and electronic form); non-verbal communications such as art works; and, in some
instances, to commercial speech and gestures (such as physical rituals associated with prayer).

With those First Amendment rights in mind, I direct that DHS personnel shall not collect, maintain
in DHS systems, or use information protected by the First Amendment unless (a) an individual
has expressly granted their consent for DHS to collect, maintain, and use that information; (b)
maintaining the record is expressly authorized by a federal statute; or (c) that information is
relevant to a criminal, civil, or administrative activity relating to a law DHS enforces or
administers. In addition, DHS personnel should not pursue by questioning, research or other
means, information relating to how an individual exercises his or her First Amendment rights
unless one or more of the same conditions applies.

Express Statutory Authorization

DHS agencies may collect and maintain records regarding First Amendment activity when doing
so is expressly authorized by statute. As explained in longstanding guidance from the Office of
Management and Budget (OMB), a statute need not specifically address the maintenance of
records of First Amendment activities if it references activities that are relevant to a determination
concerning an individual.* Thus, for example, DHS personnel may collect information on First

Amendment protected activity when that activity is relevant to the granting or denial of a pending
application.

Consent of the Individual
Records on First Amendment activity may be maintained if the individual voluntarily provides it,

thereby consenting to its use by DHS. For example, “if an individual volunteers information on
civic or religious activities in order to enhance his chances of receiving a benefit, such as

 

5 Privacy Act Implementation, Guidelines and Responsibilities, 40 Fed. Reg. 28,948, 28,965 (July 9, 1975)
(hereinafter OMB Guidelines). The Guidelines specifically cite to the Immigration and Nationality Act (INA) as an
example: “[S]ince the Immigration and Nationality Act makes the possibility of religious or political persecution
relevant to a stay of deportation, the information on these subjects may be admitted in evidence, and therefore would
not be prohibited by [subsection (e)(7).” OMB Guidelines, at 28,965. Many other INA provisions potentially involve
consideration of First Amendment activity. E.g., 8 U.S.C. 1101(a)(43) (definition of refugee, for purpose of refugee
and asylum eligibility determinations, includes persecution based on membership in social group, religion, or political
opinion); 8 U.S.C. 1182(a)(3)(B) (inadmissibility of any alien who, inter alia, “endorses or espouses terrorist activity
or persuades others to endorse or espouse terrorist activity or support a terrorist organization”); 8 U.S.C.
1182(a)(3)(D) (ground of inadmissibility for membership or affiliation with the Communist or other totalitarian
party); 8 U.S.C. 1182(a)(3)(F) (ground of inadmissibility for association with terrorist organizations); 8 U.S.C.
1227(a)(4)(B) (deportability of aliens admitted to the United States if described in terrorism-related grounds of

inadmissibility); 8 U.S.C. 1424 (prohibition upon the naturalization of persons opposed to government or law, or who
favor totalitarian forms of government).

 
 

 

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executive clemency, the agency may consider information thus volunteered.” As applied to DHS,
individuals may voluntarily provide consent in submitting their associations and beliefs when
applying for naturalization pursuant to filing USCIS Form N-400’ or may proactively provide
information in written materials, including correspondence, or during an inspection or encounter.

Relevant to Law Enforcement Activity

If the use of information regarding First Amendment protected activities is not otherwise covered
by one or both of the exceptions discussed above (explicit statutory authority and consent), DHS
personnel may include such information in DHS systems if the information is pertinent to and
within the scope of an authorized criminal, civil, or administrative law enforcement activity.*

For example, information about First Amendment protected activities is pertinent to and within the
scope of DHS’s administration or enforcement of a statute, regulation, or executive order when all
DHS personnel:

1. Document questions and responses relating to an individual’s occupation, purpose for
international travel, or any merchandise the individual seeks to bring across the border;

2. Document questions, responses, or other information to validate information supplied
by an individual or determine whether potential criminal, civil, or administrative
violations exist relating to the laws that DHS enforces or administers;

3. Document journalistic or scientific research, academic inquiry, and/or analysis or
questions and responses relating to information regarding an individual indicating a
potential violation of a law DHS enforces or administers, or a threat to border security,
national security, officer safety, or public safety;

4. Document research and/or analysis relating to activities protected by the First
Amendment to the extent that it may facilitate an individual’s travel by, for example,
verifying information provided by the individual —(e.g., validating a visa based on a
religious purpose); or,

5. Take into account information regarding religion in order to identify whether a
reasonable accommodation for an individual’s religious beliefs would be appropriate.
This may include subsequent documentation of relevant information in DHS records
regarding the action (for example, noting that a certain action was undertaken as an
accommodation or noting that an accommodation was requested or deemed
appropriate).

Each of us is called to do an extraordinarily important job for our nation. In executing this
mission, it is my job to ensure that you are empowered to do so in accordance with our highest
moral, ethical, and legal obligations. To this end, I have tasked the DHS Office for Civil Rights
and Civil Liberties and the DHS Privacy Office to review existing guidance and develop new

 

© OMB Guidelines, at 28965.

7 It must be noted that DHS/USCIS may also collect this information pursuant to its statutory authority in determining
whether the applicant comes under section 313 of the INA’s (8 U.S.C. 1424) prohibition upon the naturalization of
persons opposed to government or law, or who favor totalitarian forms of government Thus, collecting and
maintaining this information is lawful both because of express statutory authorization as described above, and because
the applicant consented to providing it by signing and filing the application.

8 DHS may still maintain records consistent with 552a(e)(7) even if there is no ongoing or current law enforcement
investigation.
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guidance, where appropriate, to assist the operational components in implementing this
memorandum.’

As you execute your mission each day, our Privacy and Civil Rights and Civil Liberties colleagues
stand by to assist with any further questions or concerns you may have on this topic. Please
contact Jonathan R. Cantor, Acting Chief Privacy Officer and Peter Mina, CRCL Deputy Officer
for Programs and Compliance, and their staffs with those questions. Please contact your
Component Counsel Offices with any legal questions.

 

° Nothing in this policy memorandum or tasking otherwise impairs the statutory or delegated authorities and
responsibilities of the Privacy Office or the Office for Civil Rights and Civil Liberties, including the authority to
“investigate complaints and information indicating possible abuses of civil rights or civil liberties” under 6 U.S.C. §
345 or investigate noncompliance DHS privacy policies under 6 U.S.C. § 142.
